
624 N.E.2d 471 (1993)
In the matter of E.H. and L.H., Children Alleged to Be in Need of Services.
Thomas B.H., Appellant (Respondent),
v.
MARION COUNTY DEPARTMENT OF PUBLIC WELFARE, Appellee (Petitioner), and
D.S., Additional Appellee (Two Cases).
In the matter of the Termination of the Parent-Child Relationship of L.H. and E.H., Minors, and Thomas B.H.
No. 49S02-9312-CV-1325.
Supreme Court of Indiana.
December 2, 1993.
Margaret O'Donnell, McNally and Robinson, Frankfort, for Thomas B. Hemingway.
Mary Jane Norman, Indianapolis, for Marion County Dept. of Public Welfare.
M. Kent Newton and Leah S. Mannweiler, Krieg DeVault Alexander &amp; Capehart, Indianapolis, for Dawn Sandoe.

ON PETITION TO TRANSFER
PER CURIAM.
The Marion Superior Court, Juvenile Division, found that two children residing in Indiana with their mother were children in need of services (CHINS), Ind. Code Ann. § 31-6-4-3 (West Supp. 1993) and entered certain orders requiring therapy and evaluation *472 and affecting visitation with the children's father. He is a resident of Texas, the state where the dissolution decree was entered.
The court also terminated the father's parental rights in accordance with Ind. Code Ann. § 31-6-5-4.3 (West Supp. 1993).
A divided Court of Appeals held that the Marion Superior Court should have deferred to the Texas courts in accordance with Indiana's Uniform Child Custody Jurisdiction Law, Ind. Code Ann. §§ 31-1-11.6-1 to 24 (West 1979). It vacated the CHINS determination and the dispositional order, as well as the trial court's findings on child support and insurance-related obligations. It also vacated the termination of the father's parental rights. Finally, it directed the trial court to defer jurisdiction over visitation to the Texas District Court. Matter of E.H. (1993), Ind. App., 612 N.E.2d 174 (Barteau, J., concurring in result; Chezem, J., dissenting).
This Court heard oral argument on November 30, 1993, and we conclude that the lead opinion of Judge Sullivan correctly describes the applicable law and properly disposes of the issues on appeal. Accordingly, we grant transfer and adopt the opinion of Judge Sullivan. Ind.Appellate Rule 11(B)(3). The trial court is directed to proceed in accordance with that opinion.
SHEPARD, C.J., and DeBRULER, GIVAN and DICKSON, JJ., concur.
SULLIVAN, J., not participating.
